 Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 1 of 9. PageID #: 570861




                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHER DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                        MDL No. 2804
 OPIATE LITIGATION                                  Case No. 17-md-2804
                                                    Judge Dan Aaron Polster
 This document relates to:

 Track Three Cases


     REPLY MEMORANDUM IN FURTHER SUPPORT OF DEFENDANTS’ DAUBERT
      MOTION TO EXCLUDE THE OPINIONS OFFERED BY CALEB ALEXANDER

        Despite the Court’s prior orders, Plaintiffs are attempting to introduce testimony by Caleb

Alexander that would only be relevant (if at all) to the Court during a remedies phase (if there is

one) but would be prejudicial if presented to the jury during the liability phase. Plaintiffs also

are attempting to reserve the right to substitute attorney argument for the sort of reliable expert

methods required by Rule 702(d) if the Court excludes certain testimony by one of their other

expert witnesses, Carmen Catizone. The Court should enforce its prior orders and Rule 702(d)

and exclude Alexander’s testimony.

I.      ARGUMENT

        A.     The Court Should Exclude All Remedies-Related Testimony From The Phase One
        Jury Trial

        As the Court previously explained, the Phase One trial is solely about liability. If the

outcome of that trial warrants it, it will be up to the Court to hear evidence and make

determinations as to remedies in a second, separate proceeding. Doc. 3579 (“Phasing Order”) at

*2-5. The only questions before the Phase One jury will be “(i) whether a public nuisance exists;

and (ii) if so, was any defendant a substantial factor in causing it?” Id. at *3-4. “If the answers

are yes, then it is for the Court to decide all matters connected to abatement.” Id. at *4

(emphasis in original).
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 2 of 9. PageID #: 570862




       The Court created this structure because, as it reasoned in the context of a previous

Daubert motion: “In Ohio, ‘[w]hen a nuisance is established, the form and extent of the relief

designed to abate the nuisance is within the discretion of the court.’” Doc. 2519 at *3 (emphasis

added) (citing 72 Ohio Jur. 3d Nuisances §49) (cited in Phasing Order at *3). The Court

carefully distinguished “the forward-looking, equitable remedy of abatement” from “the

rearward-looking remedy of damages,” noting, “[t]he goal is not to compensate the harmed party

for harms already caused by the nuisance. This would be an award of damages. Instead, an

abatement remedy is intended to compensate the plaintiff for the costs of rectifying the nuisance,

going forward.” Id.

       The Court further held that “presentation of evidence during the two phases of trial will

be limited accordingly.” Phasing Order at *3. Alexander’s reported opinions are almost entirely

about abatement issues, however, so Defendants moved to exclude his abatement-related

testimony from the Phase One trial.

       In Opposition, Plaintiffs state that they “would not offer remedy-related testimony by Dr.

Alexander in Phase One of the trial,” and that they “would not elicit remedy-related testimony

from Dr. Alexander in Phase One.” Opp. at *3. While this is a welcome concession in theory, in

practice Plaintiffs apparently intend to do exactly what they deny. In Plaintiffs’ own words:

       In Phase One, Plaintiffs may call Dr. Alexander to testify as to the existence and
       impact of an opioid epidemic nationally and in Lake and Trumbull Counties . . . .
       As an epidemiologist, Dr. Alexander’s opinions on these topics are highly relevant
       and would be helpful to the Court in understanding the scope of harms caused by
       the oversupply of prescription opioids into the jurisdictions.

Id. at *2 (emphasis added). Expert opinions on this general topic might be relevant to the Court

in a remedies proceeding, assuming the jury in Phase One finds that any defendant substantially




                                                2
    Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 3 of 9. PageID #: 570863




caused a present public nuisance that could be rectified going forward.1 In contrast, the

retroactive question of whether a defendant “caused” harms in Lake and Trumbull Counties via

an “oversupply of prescription opioids” is a backwards-looking damages-type question.

         Expert testimony regarding damages has no place in either phase, since the Court already

has made clear this is about abatement, not damages. Further, under Ohio law, questions about

“the extent” of the relief necessary to abate a public nuisance are strictly for the Court. See 72

Ohio Jur. 3d Nuisances §49. So, unless and until the Phase One jury finds that a defendant

substantially caused a public nuisance, even forward-looking evidence regarding the “impact” or

“scope” of the harms associated with the alleged nuisance is irrelevant, and potentially

prejudicial.

         In drawing the line between trial phases, the Court carefully balanced the benefits of

having a “properly instructed” jury collectively deliberate on liability against the risk of a jury

making decisions as a result of “inflamed passions.” See Phasing Order at *5. Plaintiffs are

transparently planning to use Alexander’s testimony about the past “scope” or “impact” of the

opioids crisis and associated harms in Lake and Trumbull Counties to inflame the Phase One

jury, even though abatement is a forward-looking remedy reserved strictly for the Court under

Ohio law. The Court should reject this attempted end-run around the Phasing Order and exclude

all remedies-related testimony from the Phase One trial.

         B.    Alexander’s Appendix F Opinions Are Not Admissible Without An Admissible
         Connection To The CT3 Defendants

         Rule 702(d) states in plain terms that expert testimony is only admissible if “the expert

has reliably applied the principles and methods to the facts of the case.” Alexander admitted in



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 Once again, Defendants reserve the right to move to exclude Alexander’s opinions on this topic
on other grounds prior to the phase two proceeding, assuming one is necessary.
                                                  3
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 4 of 9. PageID #: 570864




his deposition that he did nothing to apply the general principles he discussed in Appendix F to

the actions of any Defendant. Instead, he left that task entirely to Catizone. See Tr. at 122:15-

18,156:1-10; see also id. at 156:15-157:12, 170:18-171:1, 174:14-176:9. Accordingly, if the

Court excludes Catizone’s testimony on this subject, it must also exclude Alexander’s Appendix

F opinions.

        Plaintiffs do not even discuss Rule 702(d) in their Opposition, and the nature of their

response is extremely telling. They argue that even if Catizone is excluded, “the connection of

the indicators discussed by Dr. Alexander to Defendants is clear: They are ‘the types of

indicators . . . that can be used by pharmacies and other actors in the pharmaceutical supply

chain,’ such as Defendants.” See Opp. at *4 (quoting Tr. at 148:24-149:1) (emphasis added).

The phrase “such as Defendants” is critical here, as otherwise such evidence would fail the Rule

702(d) requirement that the testifying expert use a reliable method to apply the stated general

principles to the facts of the case.

        Plaintiffs had no choice but to end their quotation of Alexander’s testimony before

getting to this critical connective phrase, because Alexander himself provided no such opinion as

to any Defendant. To the contrary, he explicitly disclaimed analyzing that very question, and

testified he did nothing to actually apply any of his general principles to the actions of any

Defendant. See Tr. at 122:15-18 (“But my development of that appendix did not require me to

evaluate the specific actions of pharmacies to date. And I would leave it to Mr. Catizone or other

experts to do so.”), 156:1-10 (“Q. Did you study, in relation to Appendix F, and what you’ve

placed in your – the contents of Appendix F, did you study the specific actions of any of the

defendant pharmacies and their pharmacists related to Appendix F? A. Well, I reviewed Mr.

Catizone’s report, and I believe he does so. But the development of my Appendix F did not



                                                  4
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 5 of 9. PageID #: 570865




require me or wasn’t predicated on having studied the specific actions of defendants in this

case.”).

           The Advisory Committee Notes to the 2000 Rule 702 Amendments (made in response to

the Supreme Court’s decision in Daubert) provide the following relevant example:

           The amendment requires that the testimony must be the product of reliable
           principles and methods that are reliably applied to the facts of the case. While the
           terms “principles” and “methods” may convey a certain impression when applied
           to scientific knowledge, they remain relevant when applied to testimony based on
           technical or other specialized knowledge. For example, when a law enforcement
           agent testifies regarding the use of code words in a drug transaction, the principle
           used by the agent is that participants in such transactions regularly use code words
           to conceal the nature of their activities. The method used by the agent is the
           application of extensive experience to analyze the meaning of the conversations.
           So long as the principles and methods are reliable and applied reliably to the facts
           of the case, this type of testimony should be admitted.

F.R.E. 702 Advisory Committee’s Note (emphasis added). Without Catizone, Alexander would

be like an expert who testified generally about the use of code words in drug transactions, but

then never analyzed any of the actual conversations at issue in the case using reliable methods,

instead leaving it to the jury to try to figure out what, if any, relevance the expert’s general

testimony had to the facts of the case. As the Court stated with respect to a proposed

preservation deposition for “generic” expert testimony, “I understand [an expert] can make

generalizations, but it is only admissible if he ties it to the particular case that is on trial.” Doc.

3606 (1/11/21 Hearing Transcript) at *30.

           Rule 702(d) does not permit the admission of such free-floating expert testimony for

good reason: it would allow parties to fill the connective gap between general principles and the

facts of the case with attorney argument, rather than reliable expert methods subject to a Daubert

inquiry. That is transparently what Plaintiffs hope to do in the Phase One trial, but Rule 702(d)

does not allow such a tactic. Therefore, the Court should exclude Alexander’s Appendix F



                                                    5
 Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 6 of 9. PageID #: 570866




testimony if it excludes Catizone’s relevant testimony, because without Catizone only Plaintiffs’

counsel can connect Alexander’s general principles with the facts of the case, not a reliable,

admissible expert method.

II.    CONCLUSION

       The Court carefully delineated the issues that will be tried before the Phase One jury and

the limits it would place on the evidence presented to the jury. The Court should now enforce

those limits by excluding all of Alexander’s remedies-related opinions, including testimony as to

the retroactive “impact” or “scope” of the alleged harms associated with the opioids crisis. The

Court also should exclude Alexander’s Appendix F opinions if it excludes Catizone’s relevant

opinions, because Alexander does not connect his general principles to the facts of the case via a

reliable method as required by Rule 702(d).

Dated: August 27, 2021                        Respectfully submitted,

                                              /s/ Scott D. Livingston
                                              Robert M. Barnes
                                              Scott D. Livingston
                                              Joshua A. Kobrin
                                              MARCUS & SHAPIRA LLP
                                              35th Floor, One Oxford Centre 301 Grant Street
                                              Pittsburgh, PA 15219
                                              Phone: (412) 471-3490
                                              Email: rbarnes@marcus-shapira.com
                                              Email: livingston@marcus-shapira.com
                                              Email: kobrin@marcus-shapira.com

                                              Attorneys for Giant Eagle and HBC Service
                                              Company

                                              /s/ Tara A. Fumerton (consent)
                                              Tara A. Fumerton
                                              Tina M. Tabacchi
                                              JONES DAY
                                              77 West Wacker
                                              Chicago, IL 60601
                                              Phone: (312) 269-4335
                                              Fax: (312) 782-8585
                                                 6
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 7 of 9. PageID #: 570867




                                   E-mail: tmtabacchi@jonesday.com
                                   E-mail: tfumerton@jonesday.com

                                   Attorneys for Walmart Inc.

                                   /s/ Alexandra W. Miller (consent)
                                   Alexandra W. Miller
                                   Eric R. Delinsky
                                   ZUCKERMAN SPAEDER LLP
                                   1800 M Street, NW
                                   Suite 1000
                                   Washington, DC 20036
                                   Phone: (202) 778-1800
                                   Fax: (202) 822-8106
                                   E-mail: smiller@zuckerman.com
                                   E-mail: edelinsky@zuckerman.com

                                   Attorneys for CVS Indiana, L.L.C., CVS Rx
                                   Services, Inc., CVS Pharmacy, Inc., CVS TN
                                   Distribution, L.L.C., and Ohio CVS Stores,
                                   L.L.C.

                                   /s/ Kaspar J. Stoffelmayr (consent)
                                   Kaspar J. Stoffelmayr
                                   Brian C. Swanson
                                   Katherine M. Swift
                                   Sharon Desh
                                   Sten A. Jernudd
                                   BARTLIT BECK LLP
                                   54 West Hubbard Street
                                   Chicago, Illinois 60654
                                   Phone: (312) 494-4400
                                   Fax: (312) 494-4440
                                   E-mail: kaspar.stoffelmayr@bartlitbeck.com
                                   E-mail: brian.swanson@bartlitbeck.com
                                   E-mail: kate.swift@bartlitbeck.com
                                   E-mail: sharon.desh@bartlitbeck.com
                                   E-mail: sten.jernudd@bartlitbeck.com

                                   /s/ Alex J. Harris (consent)
                                   BARTLIT BECK LLP
                                   1801 Wewatta Street, Suite 1200
                                   Denver, Colorado 80202
                                   Phone: (303) 592-3100
                                   Fax: (303) 592-3140
                                   E-mail: alex.harris@bartlitbeck.com

                                      7
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 8 of 9. PageID #: 570868




                                   Attorneys for Walgreens Boots Alliance, Inc.,
                                   Walgreen Co. and Walgreen Eastern Co., Inc.




                                      8
Case: 1:17-md-02804-DAP Doc #: 4234-1 Filed: 01/18/22 9 of 9. PageID #: 570869




                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via e-mail to

all counsel of record on August 27, 2021.


                                            /s/ Scott D. Livingston
